Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 1 of 14 PageID: 1




LAW OFFICES OF ROBERT L. TARVER, JR.
66 LAW OFFICES OF ROBERT L. TARVER, JR.
66 South Main Street
Toms River, New Jersey 08757
(732) 341-2152 Telephone
(732) 341-2153 Facsimile
Robert L. Tarver, Jr.
Attorney for Plaintiff
RT (0472)

                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY
_____________________________________________________________________________________________

GERALDINE HARVEY,                     :
                                      :                Civil Action
            Plaintiffs,               :
                                      :
      vs.                             :
                                      : Civil Action No.
                                      :
                                      :
FEDERAL AVIATION                      :
ADMINISTRATION, MICHELE               :
HOLMES, JAMES CONNETT, JOHN           :    COMPLAINT, JURY DEMAND and
AND JANE DOES 1-10, XYZ               :   DESIGNATION     OF TRIAL COUNSEL
CORPORATINS 1-10,                     :
            Defendants                :
                                      :
                                      :
______________________________________________________________________________

        Plaintiff, Geraldine Harvey, by through her attorney and by way of Complaint against the

Defendant(s) say:


                                       INTRODUCTION


             1. This is an action for damages sustained by Ms. Geraldine Harvey, a citizen of the

United States, against the Federal Aviation Association, (“FAA”) who unlawfully applied,

permitted, allowed and condoned the discriminative acts which injured Ms. Harvey. Geraldine

Harvey is also referred to as “Plaintiff” as she is plaintiff in fact. The Federal Aviation

Administration, as the supervisory organization responsible for the conduct of the defendants and



Complaint, Jury Demand,
Designation of Trial Counsel - 1
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 2 of 14 PageID: 2




for the Agency’s failure to take corrective action with respect to training, promoting and

accommodating personnel whose discriminative propensities were blatant, to assure proper

training, supervision and accommodation of the personnel with control over Plaintiff, and/or to

implement meaningful procedures to discourage illegal and immoral conduct, against Plaintiff.

The Federal Aviation Administration as the employer of the personnel named in this Complaint

is sued as a person under 42 U.S.C. § 1983.

        2.       The action is against Michele Holmes, a supervisor in the Federal Aviation

Administration with direct supervisory control over Plaintiff, in that she served as Plaintiff’s

first-line supervisor, who unlawfully conducted, committed, allowed and condoned the

discriminative acts which injured Plaintiff, including but not limited to failing to adequately

promote or provide accommodation to Plaintiff.

        3.       The action is against James Connet, a supervisor in the Federal Aviation

Administration with direct supervisory control over Plaintiff, in that he served as Plaintiff’s

second-line supervisor, who unlawfully conducted, committed, allowed and condoned the

discriminative acts which injured Plaintiff, including but not limited to failing to adequately

promote or provide accommodation to Plaintiff.

                                      THE PARTIES

        4.       Geraldine Harvey was at all times relevant, an employee of the Federal Aviation

Administration in Atlantic City, New Jersey. She is an African American Female.

        5.       The Federal Aviation Administration is an operating mode of the U.S.

Department of Transportation. Its Atlantic County, New Jersey division is located at Atlantic

City International Airport, Egg Harbor Township, NJ 08405.

        6.       Michele Holmes was at all times relevant, an employee of the Federal Aviation

Administration and first-line supervisor to Plaintiff, in Atlantic City, New Jersey.




Complaint, Jury Demand,
Designation of Trial Counsel - 2
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 3 of 14 PageID: 3




        7.       James Connett was at all times relevant, an employee of the Federal Aviation

Administration and second -line supervisor to Plaintiff, in Atlantic City, New Jersey.

        8.       John and Jane Does (1-10) are supervisors, employees, agents, heirs, assigns and

managers of the Federal Aviation Administration who participated in any or all decisions

concerning the employment actions regarding Geraldine Harvey as set forth below and as

discovery may reveal.

                                    JURISDICTION AND VENUE

        9.       The jurisdiction of this Court is invoked pursuant to 42 USC § 1983, et. seq. and

the supplemental jurisdiction of this Court over state claims. Venue is proper within this District

because the unlawful practices complained of in this complaint all occurred within the District of

New Jersey.

        10.      The causes of action alleged, seek to redress the deprivation, under the color of

state law, policy and custom, of rights secured by the United States Constitution, the New Jersey

Constitution, and the statutory and common laws of the state of New Jersey, and to recover

damages, costs, and attorney fees under 42 U.S.C. §§ 1981, 1983, 1985(3) and 1988.

        11.      The acts, omissions and conspiracies alleged in this complaint were engaged in

and carried out by all defendants individually and under color of state law and/or agents,

employees and co-conspirators by and through their employees, agents, officials and co-

conspirators pursuant to governmental policy, practice, and custom and under color of law.

                                    FACTUAL ALLEGATIONS

                      Harvey’s Employment Background and Qualifications

        12.      Plaintiff is a member of at least five (5) protected EEO classes. Plaintiff is African

American, dark-skinned, over the age of forty (40), is disabled, and has engaged in prior

protected EEO activity, including requests for a reasonable accommodation.




Complaint, Jury Demand,
Designation of Trial Counsel - 3
    Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 4 of 14 PageID: 4




         13.     Plaintiff is currently a Management and Program Assistant, 0344 Series, F Band,

Audio Visual and Advanced Imaging Technology Department, Atlantic City, Airport, Eastern

Service Center, Federal Aviation Administration (FAA), U.S. Department of Transportation

(DOT).

         14.     At all relevant times to the Complaint, Plaintiff’s first-line supervisor was

Michele Holmes (hereinafter “Holmes”) (white (race and color), female, DOB 02/21/1961)),

Manager, 0301 Series, K Band, Center Service Liaison and Imaging Technologies Branch,

Center of Operations Division, FAA, DOT. Holmes was Plaintiff’s first line supervisor from

2011 and continues to be her supervisor to date.

.        15.     Holmes is aware of Plaintiff’s race, color, sex, age, and disabilities. Holmes

became aware of Plaintiff’s race, color, sex, and age when she first met Harvey by physical

observation.

         16.     Holmes became aware of Plaintiff’s disability status when she became Plaintiff’s

supervisor and “made a reasonable accommodation for her” after Plaintiff submitted medical

documentation as part of a reasonable accommodation request.

         17.     Holmes became aware of Plaintiff’s disabilities in 2011 when Holmes submitted

medical documentation as part of a request for a reasonable accommodation.

         18.     At all relevant times to this Complaint, Plaintiff’s second-level supervisor was

James Connett (hereinafter “Connett”) (white (race and color), male, DOB 07/07/1965)),

Division Manager, William J. Hughes Technical Center (WJHTC) Center Operations, 2186

Series, L Band, Next Generation Air Transportation System, WJHTC, FAA, DOT.

         19.     Connett became aware of Plaintiff’s race, color, sex, age, and disabilities during

when he first the Alternate Dispute Resolution process of the instant Complaint.




Complaint, Jury Demand,
Designation of Trial Counsel - 4
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 5 of 14 PageID: 5




        20.      Plaintiff has worked for the Agency since November 9, 1987. She started as an

Air Traffic Assistant, GS-2154-03 and was hired as a permanent part-time employee. Plaintiff

later became a Secretary, 0318 Series, also as a permanent part-time employee. Plaintiff finally

became a permanent full-time employee in or around 2008, when she received a position of

Management and Program Assistant, GS-0344-07. Plaintiff’s position was later converted to the

Core Compensation System on or about August 9, 2015, where she became a GS-07 equivalent

under E Band.


        21.      Plaintiff’s duties and responsibilities as Management and Program Assistant

include, but are not limited to, “supervising or performing management analysis or program

analysis work, requiring an in depth knowledge of agency missions and policies, agency

programs and activities, management principles and processes, and the analytical and evaluative

methods and techniques for assessing program development or execution and improving

organizational effectiveness and efficiency.” Further, Plaintiff is responsible for performing

multiple and varying assignments in support of a professional, technical, or specialized

occupation under the limited direction of a manager, project/program manager, team leader, or

more experienced employee. Her position description also calls for her to act as a lead for other

support staff to coordinate multiple assignments. Plaintiff is also tasked with being the point of

contact for customer support, problem resolution, and compiling and distributing reports on

program performance.

        22.      Plaintiff’s day-to-day activities include responding to customers' phone calls and

handling requests for conference room scheduling, training, and events. Plaintiff handles

customer concerns and works with various individuals from the organization. Plaintiff manages a

software database of customer reservations and ensures that customers receive all requests

necessary for these reservations.


Complaint, Jury Demand,
Designation of Trial Counsel - 5
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 6 of 14 PageID: 6




        23.      Plaintiff has always received high ratings or “fully successful” Performance

Reviews as a full-time Management and Program Analyst Assistant.

        24.      Each year since 2004 and during her performance assessments, Plaintiff has had

conversations and exchanged emails with her managers regarding opportunities for promotion.

Plaintiff has documented her requests for a promotion since at the latest 2010 when Plaintiff

asserted that she would do whatever training she needed to do to get promoted. The Agency

previously acknowledged that Plaintiff “vigorously” requested to be promoted. Defendant

Holmes became aware of Plaintiff’s requests for a promotion, at the latest, in 2012.

        25.      In or around February 2016, Plaintiff learned from Mary Ann Quinn (hereinafter

“Quinn”) (Caucasian, female, white, DOB February 7, 1963), Lead Human Resources Specialist,

that Plaintiff’s position had promotion potential to GS-09 and GS-10, or the equivalent of a G

Band.

        26.      Under the Core Compensation System, managers are able to promote (if higher

level work is available) up to the highest level in a particular job category without competition.

        27.      During the several years of requesting a promotion, Plaintiff was constantly

informed by her managers that she could not be promoted due to budgetary concerns. Plaintiff

was told there was no budget for promotion and there was a national budget crisis.


        28.      The Agency admits that two (2) employees, Michael Lamezec (hereinafter

“Lamezec”) (Caucasian, male, under forty (40) years old, no disabilities, no prior EEO activity)

and Robert Williams (hereinafter “Williams”) (Asian, male, over forty (40) years old, no

disabilities, prior EEO activity), who work for Holmes, received career ladder promotions from




Complaint, Jury Demand,
Designation of Trial Counsel - 6
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 7 of 14 PageID: 7




        29.      After Plaintiff initiated EEO contact in the instant Complaint on or about March

18, 2016, she was non-competitively promoted from an E Band to F Band on or about May 15,

2016.


        30.      The Agency alleges that Plaintiff was promoted in May 2016 because additional

duties were provided to her to justify an F Band position.

        31.      The Agency maintains that the additional duties provided to Plaintiff came only

subsequent to a “metrics and analyses” conducted of the conference room management program.

This “analysis” began in or around 2013, or approximately three (3) years prior to Plaintiff’s

eventual non-competitive promotion.

        32.      With regard to this “analysis,” Defendant Holmes averred that there had been no

F band work available for any employees, not only Plaintiff, and that the Defendant FAA

started doing some analysis and identified areas for improvement. Defendant FAA needed an

employee to concentrate on capturing particular information and managing that information.

Based on an analysis that they did, the position was thus realized.

        33.      Defendant Holmes previously testified that a need for an F Band position

occurred at the end of 2014. Defendant Holmes testified, however, that the Agency “realized that

there were some issues” that needed to be addressed regarding customers’ satisfaction usage

since 2012.


        34.      Meanwhile, numerous other similarly situated employees were promoted to G

Band positions under Defendant Holmes’ supervision between 2014 and 2016.



FAA’s Promotion Policy




Complaint, Jury Demand,
Designation of Trial Counsel - 7
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 8 of 14 PageID: 8




        35.      FAA’s policies on promotions, career ladder promotions, and even more

specifically, the promotion potential of Complainant vis a vis other employees who work under

the supervision of Defendant Holmes, were set forth by the Agency.

        36.      Plaintiff is an FAA employee who is under the “Core Compensation System,”

pursuant to which, there are “pay bands” and “career levels” that replace the traditional General

Schedule, and eliminate “within grade increases” and “steps.”

        37.      Under the FAA’s Core Compensation System, managers are able to promote with

or without competition, but only if higher-level work is available and necessary, the employee is

capable of performing the higher-level work, and the organization has the funds to pay for it.

           “Pay Bands,” “Job Categories,” and Complainant’s May 2016 Promotion


        38.      Plaintiff’s position is in occupational series 0344 (“Management and Program

Assistant”), which is within the “Administrative Support” job category.

        39.      The maximum pay band for non-managers, such as Plaintiff, in the

Administrative Support job category is pay band “F.”

        40.      On May 16, 2016, Plaintiff was promoted to pay band F (the highest pay band in

her job category). Plaintiff was promoted to the highest non-managerial pay band (“F”) in her

Administrative Support job category. Each job category has three (3) job “levels” (Levels

1, 2, and 3), each one of which corresponds to a pay band. For Plaintiff’s “Administrative

Support” job category, there are three (3) “levels”: Level 1 is a D-band, Level 2 is an E-band,

and Level 3 is an F-band. Each of the “levels” in a job category has corresponding descriptions

of increasingly complex levels of work associated with each of the levels. If a manager has no

“Level 3” work in her organization, then a Level 2 employee cannot be promoted up to the next

pay band corresponding with Level 3, even if the employee is performing the Level



Complaint, Jury Demand,
Designation of Trial Counsel - 8
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 9 of 14 PageID: 9




2 work well.

        41.      Moreover, according to the FAA Human Resources Policy Manual, “Promotions

may only be approved if the higher level work is available and necessary.”

        42.      Plaintiff stated that in February 2016, she contacted Human Resources and was

told that her 0344 series position was eligible for promotion to the GS-9/10 level.

        43.      However, despite the existence of positions up to the GS 10 level, Defendants

refused to promote Plaintiff to the GS 10 level.

        44.      Other employees who were similarly situated to Plaintiff were given promotional

opportunities, many of them having been promoted to the GS 14 level.



                     The Agency Denied Harvey Reasonable Accommodation

        45.      Harvey suffers from numerous documented disabilities, including chronic asthma,

heart problems, stenosis of the spine, carpel tunnel syndrome, sciatica, high blood pressure,

disabilities, and hyperthyroidism.

        46.      From in or around 2008 to 2009, the Agency denied Harvey a reasonable

accommodation. Harvey requested redirection of cold air that was blowing directly on her at the

time from directly above her. This exacerbated Harvey’s disabilities. Harvey provided medical

documentation to demonstrate that breathing cold air triggers Harvey’s asthma and results in

bronchitis. The Agency refused to purchase a heater for Harvey due to alleged cost concerns.

        47.      In or around 2012, Harvey was also denied a safe workstation. Harvey was placed

in a “bull pen” that did not have a keyboard tray or space for a track ball mouse. At this “bull

pen,” Harvey did not have a chair that accommodated her spinal stenosis. She was placed in

close quarters with two other employees, hindering Harvey’s ability to move around when

necessary to alleviate her pain.


Complaint, Jury Demand,
Designation of Trial Counsel - 9
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 10 of 14 PageID: 10




        48.      In or around 2015, Harvey’s designated parking space, which was handicapped

accessible, was revoked. Harvey had this designated space since in or around 2006.

        50.      Between in or around 2014 to 2017, Harvey was, once again, subjected to a cold

workstation. This ventilation issue has persisted and continues to date.

         51.     Defendants engaged in the conduct described by this Complaint willfully,

maliciously, in bad faith, and in reckless disregard of Plaintiff’s federally protected constitutional

rights and in retaliation for having made a claim of discrimination.

        52.      The acts or omissions of all individual Defendants were moving forces behind

Plaintiff’s injuries.

        53.      The acts or omissions of Defendants as described herein intentionally deprived

Plaintiff of her constitutional and statutory rights and caused her other damages.

        54.      As a proximate result of Defendants’ unlawful conduct, Plaintiff has suffered

actual physical and emotional injuries, and other damages and losses as described herein entitling

him to compensatory and special damages, in amounts to be determined at trial.

        55.      Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C.

§1988, pre-judgment interest and costs as allowable by federal law. There may also be special

damages for lien interests.

        56.      In addition to compensatory, economic, consequential and special damages,

Plaintiff is entitled to punitive damages against each of the individually named Defendants under

42 U.S.C. § 1981, in that the actions of each of these individual Defendants have been taken

maliciously, willfully or with a reckless or wanton disregard of the constitutional rights of

Plaintiff.




Complaint, Jury Demand,
Designation of Trial Counsel - 10
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 11 of 14 PageID: 11




                                     COUNTS OF THE COMPLAINT

        The above stated actions of defendants constitute the following violations of law:

        Count I:          Violation of Title VII of the Civil Rights Act of 1964, 42 USC § 2000, et.

seq., as to defendant Federal Aviation Administration in that Geraldine Harvey was

discriminated against due to her race and that any and all actions were motivated in whole or in

part by racial animus.

        Count II:         Violation of the Age Discrimination in Employment Act, 29 USC § 623

et. seq., as to all defendants in that Geraldine Harvey was discriminated against due to her age

and that any and all actions were motivated in whole or in part by illegal animus.

        Count III:        Violation of Title VII of the Civil Rights Act of 1964, 42 USC § 2000, et.

seq., as to all defendant Federal Aviation Administration in that Geraldine Harvey was retaliated

against for making a claim of racial and/or age discrimination.

        Count IV:         Violation of 42 USC § 1981, et. seq., as to all defendants in that Geraldine

Harvey was discriminated against due to her race and that any and all actions were motivated in

whole or in part by racial animus.

        Count V:          Violation of 42 USC § 1981, et. seq., as to all defendants in that Geraldine

Harvey was retaliated against due to her complaint of racial discrimination and that any and all

actions were motivated in whole or in part by racial animus.

        Count VI:         Violation of 42 U.S.C. § 1983, against all defendants in that Geraldine

Harvey was discriminated against due to her race;

        Count VII:        Violation of 42 U.S.C. § 12101, et seq. American’s with Disabilities Act,

against all defendants in that Geraldine Harvey was denied a Reasonable Accommodation for a

bona fide and acknowledged disability;

        Count VII:        Violation of 29 U.S.C. § 791(g), against all defendants in that Geraldine

Harvey was denied a Reasonable Accommodation for a bona fide and acknowledged disability.




Complaint, Jury Demand,
Designation of Trial Counsel - 11
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 12 of 14 PageID: 12




        WHEREFORE, Plaintiff Geraldine Harvey prays for judgment against the Defendants,

Federal Aviation Administration, Michele Holmes, James Connet, John and Jane Does and XYZ

Corporations 1-10, jointly, severally, and/or in the alternative, for:

       A. compensatory and consequential damages, including damages for emotional distress,

           humiliation, loss of enjoyment of life, and other pain and suffering on all claims

           allowed by law in an amount to be determined at trial.

       B. economic losses on all claims allowed by law;

       C. special damages in an amount to be determined at trial;

       D. punitive damages on all claims allowed by law against individual Defendants and in an

           amount to be determined at trial;

       E. attorneys’ fees and the costs associated with this action under 42 U.S.C. § 1988,

           including expert witness fees, on all claims allowed by law;

       F. pre- and post-judgment interest at the lawful rate; and,

       G. any further relief that this court deems just and proper, and any other appropriate relief

           at law and equity.


                                               LAW OFFICES OF ROBERT L. TARVER, JR.




                                               By: s/Robert L. Tarver, Jr.
                                                     Robert L. Tarver, Jr., Esq.
                                                     Attorney for Plaintiff
Dated: August 20, 2020




Complaint, Jury Demand,
Designation of Trial Counsel - 12
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 13 of 14 PageID: 13




                                     JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues herein.



                                               LAW OFFICES OF ROBERT L. TARVER, JR.



                                               By:s/Robert L. Tarver, Jr._________________
                                                 Robert L. Tarver, Jr., Esq.
                                                 Attorney for Plaintiff
Dated: August 20, 2020




                              DESIGNATION OF TRIAL COUNSEL

        Pursuant to R. 4:5-1(c), Robert L. Tarver, Jr., Esq. is hereby designated as Trial Counsel.



                                               LAW OFFICES OF ROBERT L. TARVER, JR.



                                               By:s/Robert L. Tarver, Jr___________________
                                                 Robert L. Tarver, Jr., Esq.
                                                 Attorney for Plaintiffs
Dated: August 20, 2020




Complaint, Jury Demand,
Designation of Trial Counsel - 13
Case 1:20-cv-11012-NLH-AMD Document 1 Filed 08/20/20 Page 14 of 14 PageID: 14




                                        CERTIFICATION


        We hereby certify that the foregoing pleading has been filed within the time period set by

the applicable Court Rules and extensions thereof. We hereby certify that we have no

knowledge of any other pending actions or proceedings concerning the subject matter of this

action. It is not anticipated at this time that there is any party who should be joined in this action.



                                               LAW OFFICES OF ROBERT L. TARVER, JR.



                                               By:s/Robert L. Tarver, Jr._________________
                                                 Robert L. Tarver, Jr., Esq.
                                                 Attorney for Plaintiff
Dated: August 20, 2020




Complaint, Jury Demand,
Designation of Trial Counsel - 14
